                Case 1-17-46613-nhl                      Doc 47-1            Filed 03/16/18                Entered 03/16/18 14:00:52


 Information to identify the case:
 Debtor
                    Bracha Cab Corp                                                                     EIN 11−3000724
                    Name


 United States Bankruptcy Court Eastern District of New York
                                                                                                        Date case filed for chapter 11 12/8/17
 Case number: 1−17−46613−nhl




          NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO
                          RESTRICTION AND REDACTION

NOTICE IS HEREBY GIVEN THAT:

A transcript of the proceeding held on 3/9/18 was filed on 3/16/18.

The following deadlines apply:

The parties have until March 23, 2018 to file with the court a Notice of Intent to Request Redaction of this transcript.
The deadline for filing a Transcript Redaction Request is April 6, 2018.

If a Transcript Redaction Request is filed, the redacted transcript is due April 16, 2018.

If no such Notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is June 14, 2018, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber Veritext Legal
Solutions at Veritext or you may view the document at the public terminal at the Office of the Clerk.


 Dated: March 19, 2018


                                                                                        For the Court, Robert A. Gavin, Jr., Clerk of Court


BLnftrans2.jsp [Notice of Filing Transcript and Deadlines to Restriction and Redaction rev. 02/01/17]
